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                 9                                                         Attorneys for Defendant
                                                                           UBER TECHNOLOGIES, INC.
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            11                                         UNITED STATES DISTRICT COURT

            12                                    NORTHERN DISTRICT OF CALIFORNIA

            13

            14       JERICHO NICOLAS, individually and on                   CASE NO. 4:19-cv-08228-PJH
                     behalf of all others similarly situated,
            15                                                              JOINT STATUS REPORT
                                         Plaintiffs,
            16                                                              Judge: Hon. Phyllis J. Hamilton
                            v.
            17
                     UBER TECHNOLOGIES, INC.,
            18
                                         Defendant.
            19

            20

            21              Plaintiffs Jericho Nicolas and others similarly situated, and Defendant Uber Technologies, Inc.,
            22       by and through their counsel of record, respectfully submit this Joint Status Report pursuant to the
            23       Court’s October 14, 2024, order.
            24              Background. On July 17, 2020, the Court granted Defendant’s motion to compel arbitration
            25       with respect to the Labor Code § 2698 et seq. (PAGA) claims brought by 45 Plaintiffs and stayed those
            26       claims pending arbitration. On May 20, 2021, the Court granted Defendant’s motion to dismiss the
            27       remaining claims.
            28              On September 11, 2024, the Court ordered the parties to submit a joint status report regarding
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 Crutcher LLP


                                                            JOINT STATUS REPORT
                                                          CASE NO. 4:19-CV-08228-PJH
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                 1   the status of the arbitrations within 30 days of the order. The parties filed that joint report on October

                 2   11, 2024. The parties relayed that 41 of the 45 Plaintiffs have released their claims or never drove

                 3   using Uber. Uber proposed that those 41 Plaintiffs should be dismissed, and Plaintiffs did not oppose.

                 4          Four other Plaintiffs—Steven Robert Callahan, Jorge Diaz, Yazmin Garcia, and Lasheem

                 5   Barton—were likewise compelled to arbitration but they have not yet abandoned, settled, or arbitrated

                 6   their claims against Uber. Dkt. 36. Plaintiffs requested 60 days to investigate whether these four

                 7   Plaintiffs ever drove using Uber. On October 14, 2024, the Court granted Plaintiffs’ request and

                 8   ordered the parties to file a Joint Status Report by December 13, 2024.

                 9          Update. Plaintiffs’ counsel has concluded their investigation, and agree that Steven Robert

            10       Callahan, Jorge Diaz, and Yazmin Garcia should be dismissed. As to the one remaining Plaintiff,

            11       Lasheem Barton, Plaintiffs’ counsel believe that he used a different email address for the account he

            12       drove under during the applicable period. The parties are investigating and working to resolve this last

            13       Plaintiff’s claims. In the meantime, the rest of the Plaintiffs should be dismissed.

            14

            15       DATED: December 13, 2024                              Respectfully submitted,
            16                                                             WEST COAST TRIAL LAWYERS, APLC
            17
                                                                           By: /s/ Ronald L. Zambrano
            18                                                                 Ronald L. Zambrano
            19                                                             Attorneys for Plaintiffs JERICHO NICOLAS and
                                                                           others similarly situated
            20

            21       DATED: December 13, 2024                              GIBSON, DUNN & CRUTCHER LLP
            22                                                             By: /s/ Theane Evangelis
                                                                               Theane Evangelis
            23
                                                                           Attorneys for Defendant UBER
            24                                                             TECHNOLOGIES, INC.
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 Crutcher LLP                                                          2
                                                           JOINT STATUS REPORT
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                 1             DECLARATION OF FILER PURSUANT TO CIVIL LOCAL RULE 5-1(i)

                 2          Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this

                 3   document has been obtained from each of the signatories.

                 4   DATED: December 13, 2024                      GIBSON, DUNN & CRUTCHER LLP.

                 5
                                                                   By: /s/ Theane Evangelis
                 6                                                     Theane Evangelis
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 Crutcher LLP                                                          3
                                                           JOINT STATUS REPORT
                                                         CASE NO. 4:19-CV-08228-PJH
